952 F.2d 396
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bobbie J. PETERSON, Plaintiff-Appellant,v.PIEDMONT TECHNICAL COLLEGE;  Lex Walters, President, in hisofficial and individual capacities, Defendants-Appellees.
    No. 91-2261.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 5, 1991.Decided Dec. 26, 1991.
    
      Appeal from the United States District Court for the District of South Carolina, at Anderson.  (CA-90-241-9), Henry Michael Herlong, Jr., District Judge.
      Bobbie J. Peterson, appellant pro se.
      Timothy Gene Quinn, Ellison &amp; Quinn, Columbia, S.C., for appellees.
      D.S.C.
      DISMISSED.
      Before DONALD RUSSELL, MURNAGHAN and NIEMEYER, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Bobbie J. Peterson noted this appeal outside the 30-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).   The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).   Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.   We therefore dismiss the appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    